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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

                            CASE NO.: 1:22-CV-07221-DG-SJB


                                                                 RECEIVED IN PRO SE
  JAMES PRICE,                                                   APR 30 2023 @ 7:19 PM
  15801 SW 137^''Ave                                                VIA BOX.COM
  Miami, Florida 33711

  SHERRY PRICE,
  243-10 138»»> Ave #2F
  Rosedale, NY 11422
         Plaintiffs,

  V.



  UNITED STATES PROBATION AND
  PRE-TRIAL SERVICES, EDNY,
       Defendants.
                                                     /


                                  SECOND REQUEST FOR
                                    EXTENSION OF TIME


  Dear Judge Bulsara:

         The Plaintiff in this case. Sherry Price, respectfully requests a SECOND REQUEST FOR
  EXTENSION OF TIME.


       Due to the continued lockdown conditions at FCl Miami, Plaintiff Sherry Price is unable to
  communicate with PlaintiffJames Price. A lack ofcommunication between the Plaintiffs prevents
  Mrs. Price from responding to the Defendant's letter or amending her complaint.

       As a result ofthe continued lockdown at FCl Miami, Plaintiff, and AUSA David Cooper in
  a phone conversation towards the end of last week agreed to a second request for an additional
  twenty-one(21)days on their respective response deadlines.

       Wherefore, Plaintiff respectfully requests this Court for an Order extending the deadline for,
  serving the amended complaint until May 22,2023. Further,the plaintiffrequests that the deadline
  for responding to the amended complaint be extended until June 12, 2023.
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Case 1:22-cv-07221-DG-SJB Document 11 Filed 04/30/23 Page 3 of 4 PageID #: 73




  Date April 30,2023



                                         Respectfully Submitted by,
                                                         Digitally signed by
                                          Sherry Price Sao43o
                                                     -   19:19:38-04'C0'
                                         Sherry Price
                                         243-10 138»h Ave
                                         Rosedale NY, 11422
Case 1:22-cv-07221-DG-SJB Document 11 Filed 04/30/23 Page 4 of 4 PageID #: 74
